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                              SO ORDERED: February 23, 2012.




                              ______________________________
                              Basil H. Lorch III
                              United States Bankruptcy Judge




                        IN THE UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  NEW ALBANY DIVISION

 In re:                                                      )   Chapter 11
                                                             )
 EASTERN LIVESTOCK CO., LLC, et al.,1                        )   Case No. 10-93904-BHL-11
                                                             )
                         Debtors.                            )   JOINTLY ADMINISTERED

      ORDER GRANTING MOTION PURSUANT TO FED. R. BANKR. P. 9006(c) FOR
     ORDER SETTING APPLICATION TO EMPLOY KROGER, GARDIS & REGAS, LLP
     AS SPECIAL COUNSEL FOR CHAPTER 11 TRUSTEE FOR HEARING ON MARCH
                  12, 2012 ON SHORTENED AND LIMITED NOTICE

          This Court has considered the Motion Pursuant To Fed. R. Bankr. P. 9006(C)

 For Order Setting Application To Employ Kroger, Gardis & Regas, LLP as Special

 Counsel for Chapter 11 Trustee for Hearing on March 12, 2012 On Shortened And

 Limited Notice ("Motion") filed by James A. Knauer, the chapter 11 trustee appointed in

 this case ("Trustee"). The Motion requests entry of an order setting the Application To

 Employ Kroger, Gardis & Regas, LLP as Special Counsel for the Trustee [Docket No.

 1056] ("Application") for hearing on March 12, 2012. By the Employment Application,


 1
          The Debtor entities are Eastern Livestock Co., LLC and Okie Farms, L.L.C.
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 the Trustee requests that the Court enter an order authorizing the Trustee to employ

 the law firm of Kroger, Gardis & Regas, LLP as special counsel for the Trustee to

 collect certain avoidance actions and note claims of the estate. The Court finds that (i)

 it has jurisdiction over the matters raised in the Motion pursuant to 28 U.S.C. §§ 157

 and 1334; (ii) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); (iii) the relief

 requested in the Motion is in the best interests of the Debtor, its estate, and creditors;

 and (iv) upon the record herein after due deliberation thereon, good and sufficient

 cause exists for the granting of the relief as set forth herein. Therefore,

        IT IS HEREBY ORDERED THAT:

        1.     The Application is hereby set for hearing on March 12, 2012 at 10:00

 a.m. EST;

        2.     All parties in interest may participate telephonically in the hearing on the

 Application by dialing 1-888-399-7768; passcode 586676#;

        3.     The Trustee shall serve copies of this Order and the Application upon (i)

 the office of the United States Trustee for the Southern District of Indiana; (ii) the

 Internal Revenue Service; (iii) any secured creditors; and (iv) any party who has filed

 an appearance and served same on the Trustee prior to service by electronic mail

 through the Court's CM/ECF system (if applicable), overnight mail, or electronic mail

 within one (1) day of the entry of this Order;

        4.     NOTICE IS HEREBY GIVEN that any objection to the relief requested in

 the Application must be filed at http://ecf.insb.uscourts.gov, which requires a user

 account and password, or in writing with the Clerk's Office in accordance with Local

 Rule S.D.Ind. B−9013−1(d) at the following address:
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            United States Bankruptcy Court
            Southern District of Indiana
            110 U.S. Courthouse
            121 West Spring Street
            New Albany, IN 47150

            Objections may be filed through and including March 8, 2012 by 4:30 p.m.

 EST.

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